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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


JODI DARLENE DODSON,

             Petitioner,


v.                                       CIVIL ACTION NO. 1:10CV4
                                         CRIMINAL NO. 1:08CR53-3
                                              (Judge Keeley)

UNITED STATES OF AMERICA,

             Respondent.


            MEMORANDUM OPINION AND ORDER ADOPTING REPORT AND
      RECOMMENDATION (DKT. 21), DENYING MOTION TO VACATE (DKT. 1),
     AND DENYING AS MOOT MOTIONS TO QUASH SEARCH WARRANT (DKT. 7),
      FOR RELEASE PENDING APPEAL (DKT. 8), AND TO DENY EXTENSION,
       GRANT FURLOUGH, AND CONSIDER ALTERNATE SENTENCE (DKT. 24)1

                              I. INTRODUCTION

                A. Procedural History of this Petition

        On January 8, 2010, petitioner Jodi Dodson (“Dodson”), by

counsel, filed a “Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody”. Dodson

asserts that she received ineffective assistance from her appointed

trial attorney, Brian K. Carr (“Carr”), who coerced her into

pleading guilty. After Dodson filed several additional motions pro

se, United States Magistrate Judge David. J. Joel issued a Report

and Recommendation (“R&R”) concluding that the Court should deny



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      Unless otherwise noted, citations in this Memorandum
Opinion and Order are to the docket in Civ. Action No. 1:10CV4.
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Dodson relief and dismiss her claims with prejudice. Dodson’s

attorney in this habeas action filed timely objections. Several

months later, Dodson, acting pro se, filed additional documents

purporting to be supplemental objections to the R&R.

        Even if the Court were obliged to credit Dodson’s untimely

objections that were not filed through her current attorney, they

are without merit. This Memorandum Opinion and Order therefore

reviews the R&R and Dodson’s properly filed objections, adopts

Magistrate Judge Joel’s R&R in its entirety, denies Dodson’s pro se

motions as moot, and dismisses this petition with prejudice.

             B. Factual Background and Underlying Criminal Case

        1.     Plea Hearing

        On July 1, 2008, a grand jury in this District indicted Dodson

on twelve counts for drug-related offenses. On October 7, 2008,

pursuant to a plea agreement she entered a plea of guilty to one

count of knowingly and intentionally possessing or distributing a

listed chemical knowing, or having reasonable cause to believe,

that the listed chemical would be used to manufacture a mixture or

substance containing a detectable amount of methamphetamine, in

violation of 21 U.S.C. § 841(c)(2). Crim. Action No. 1:08CR5 (dkt.

104).




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      2.    Sentencing Hearing

      At Dodson’s sentencing hearing on January 9, 2009, the Court

found that her Total Offense Level was a Level Twenty-Three (23) (a

Base Offense Level 26 minus three levels for timely acceptance of

responsibility). Transcript of Sentencing Hearing at 10-11, Crim.

Action No. 1:08CR53 (dkt. 203). With a Criminal History Category of

I, Dodson’s advisory Guidelines sentencing range was forty-six (46)

to seventy-five (75) months of incarceration. Id. at 10. After

being advised of her right to allocute, Dodson declined and offered

no objections to the information in the PSR. Id. at 4.

      Carr had previously submitted a sentencing memorandum arguing

for a variance, the grounds for which the Court addressed and

rejected before determining a reasonable sentence in Dodson’s case.

Id. at 19-20. After considering the statutory factors under §

3553(a), the Court sentenced Dodson to forty-six (46) months of

incarceration, the lowest end of the advisory Guidelines range.

      The Court then advised Dodson that she had waived her right to

appeal or collaterally attack her sentence in her plea agreement,

but that if she believed she had a basis for an appeal that was not

covered by her waiver, she would need to file a notice of her

intent to appeal within ten (10) days of the entry of her judgment

and commitment order. Id. at 35.


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          II. MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      On November 18, 2010, Magistrate Judge Joel issued an R&R

recommending that the Court grant the government’s motion to

dismiss, deny Dodson’s § 2255 motion, and dismiss the case with

prejudice. The R&R concluded that, by the terms of her plea

agreement, Dodson had validly waived her right to collaterally

attack her sentence through a habeas petition.

      Specifically, Magistrate Judge Joel found that, because the

Court had conducted a thorough Rule 11 colloquy during her plea

hearing, Dodson’s waiver of her right to collaterally attack her

conviction was knowing, intelligent and voluntary. See United

States v. Blick, 408 F.3d 162, 169 (4th Cir. 2005); United States

v. Attar, 38 F.3d 727, 731 (4th Cir. 1994). He also found that

Dodson’s valid waiver barred her claims of ineffective assistance

of counsel as to acts arising prior to the plea hearing.

      As to those claims falling outside the scope of Dodson’s

waiver, Magistrate Judge Joel concluded that, although not within

the scope of her waiver, they lacked any merit. Dodson asserted

that Carr did not review the PSR before the sentencing hearing, did

not object to the plea agreement’s stipulations at the sentencing

hearing, and did not file an appeal. Magistrate Judge Joel,

however, found that Dodson had failed to present any evidence


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supporting the merit of her claims. Accordingly, he recommended

that the Court deny Dodson’s § 2255 motion, deny her other claims

as moot, and dismiss her case with prejudice from the Court’s

docket.

        On December 3, 2010, Dodson, through her attorney, Elgin

McCardle, filed objections to the R&R, contending that, prior to

Dodson’s Rule 11 hearing, Carr had failed to investigate her

defenses, the Court had failed to address Carr’s inadequacies, and

she had been coerced into pleading guilty. On July 18, 2011, Dodson

filed a pro se document objecting to Magistrate Judge Joel’s R&R.

                             III. STANDARD OF REVIEW

        In reviewing a magistrate judge’s R&R, the Court reviews de

novo any portions of the report to which a specific objection is

made.     28   U.S.C.    §    636(b)(1).    The   specific   objection   must

“reasonably . . . alert the district court of the true ground for

the objection.” United States v. Midgette, 478 F.3d 616, 622 (4th

Cir. 2007). The Court may adopt without explanation any of the

magistrate judge’s recommendations to which no objections are

filed. Camby v. Davis, 718 F.2d 198, 199 (4th Cir. 1983).

                               IV. APPLICABLE LAW

        A criminal defendant may waive her right to collaterally

attack her conviction and sentence so long as the waiver is knowing


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and voluntary. United States v. Lemaster, 403 F.3d 216, 220 (4th

Cir. 2005). Courts examine a collateral attack waiver for its

validity and scope. See e.g., Attar, 38 F.3d at 731 (holding that

a waiver will be enforced if the it is valid and the claim raised

on appeal is within the scope of the waiver).

                        A. Validity of the Waiver

      When evaluating the validity of a plea and waiver, a Court

must focus on the petitioner's sworn statements during the plea

hearing. The Fourth Circuit has held that “[a] defendant's solemn

declarations in open court affirming [a plea] agreement . . . carry

a strong presumption of verity,” and, therefore, “present[] a

formidable barrier in any subsequent collateral proceedings.”

Lemaster, 403 F.3d at 221 (quoting United States v. White, 366 F.3d

291, 295 (4th Cir. 2004)(internal quotations omitted)).

      According to the Fourth Circuit,

            [t]he validity of an appeal waiver depends on
            whether    the   defendant    knowingly    and
            intelligently agreed to waive the right to
            appeal. Although this determination is often
            made based on the adequacy of the plea
            colloquy -- specifically, whether the district
            court questioned the defendant about the
            appeal waiver -- the issue ultimately is
            evaluated by reference to the totality of the
            circumstances. Thus, the determination must
            depend, in each case, upon the particular
            facts and circumstances surrounding that case,
            including the background, experience, and
            conduct of the accused.

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Blick, 408 F.3d at 169 (internal citations and quotations omitted).

       Furthermore, “in the absence of extraordinary circumstances,

allegations in a § 2255 motion that directly contradict the

petitioner's sworn statements made during a properly conducted Rule

11   colloquy    are   always   ‘palpably    incredible’    and   ‘patently

frivolous or false.’” Lemaster, 403 F.3d at 221 (quoting Crawford

v. United States, 519 F.2d 347, 350 (4th Cir. 1975)). Consequently,

when a district court finds that the petitioner's allegations in a

§ 2255 petition contradict her sworn statements, it may dismiss the

petition without conducting an evidentiary hearing. Lemaster, 403

F.3d at 222.

                          B. Scope of the Waiver

       When a petitioner’s waiver is valid, a court must determine

whether the claims giving rise to the petition are outside the

scope of the waiver. Claims of ineffective assistance of counsel

are barred by a valid waiver and may be dismissed if the claims

occurred prior to the defendant’s entry of a guilty plea. Attar, 38

F.3d at 732. Claims of ineffective assistance of counsel arising

after entry of the guilty plea, however, are not barred by a valid

waiver and must be reviewed on their merits. Lemaster, 403 F.3d at

220.



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                                 V. ANALYSIS

A. Dodson’s Claims Prior to Entry of her Guilty Plea are Barred.

        Dodson objects to the R&R on the basis that she did not have

adequate assistance during her plea hearing. She insists that Carr

failed to provide her the assistance necessary as to make the Rule

11 hearing legally inadequate Because she specifically objects to

this portion of the R&R, the Court will review the issue de novo.

28 U.S.C. § 636(b)(1).

        The record in this case does not support Dodson’s assertions.

After    hearing   the   AUSA   summarize   her   plea   agreement,   Dodson

answered that she understood and agreed with its terms.

             THE COURT: All right. And same question to you
             – questions to you, Ms. Dodson. Did you
             understand and agree with the terms of the
             plea   agreement   as    summarized   by   the
             Government?

             DEFENDANT JODI DODSON: Yes, Your Honor.

Transcript of Plea Hearing at 26.

        The Court then proceeded to explain to Dodson that she had

waived her right to file an appeal and a habeas petition, after

which Dodson affirmed she understood that she had done so. Id. at

38-44. In particular, the Court confirmed that Dodson understood

she was giving up her right to appeal or to file a collateral

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attack if she was sentenced using a Base Offense Level of 26 or

less:

        THE COURT: . . . That's what I'm trying to emphasize to
        you here. You can't go to the higher court or come back
        to me if your base offense level is a 32, Mr. King, so
        you're foreclosed, you're cut off.

        DEFENDANT KING: Yes.

        THE COURT: And, Ms. Dodson, you can't do it; you're
        foreclosed or cut off at 26. The same for you, Mr.
        Dodson. Do you understand that?

        DEFENDANT JODI DODSON: Yes.

Id. at 26.

        The Court continued to describe the process of the knowing and

voluntary waiver of her constitutional rights by a plea of guilty,

and of her appeal and collateral attack rights, under the terms of

her plea agreement. At the end of all of that, the Court stated:

        THE COURT: . . . Moreover, under the terms of your plea
        agreement, by pleading guilty, you're giving up your
        right to appeal and you're giving up your habeas rights
        at the levels I mentioned to you. Were you [sic] go to
        trial, they'd be wide open. You could appeal everything.
        Do you understand, Mr. King?

        DEFENDANT KING: Yes.

        THE COURT: Do you understand, Ms. Dodson?

        DEFENDANT JODI DODSON: Yes.

Id. at 44.




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       Soon    thereafter,          the    Court   determined      that    Dodson       was

 “competent and capable of entering an informed plea,” that her plea

 was “freely and voluntarily” made, that she was "aware of the

 consequences" of the plea, and that there was a basis of fact for

 the plea. Id. at 59.

       This record establishes beyond per adventure that Dodson

 knowingly and voluntarily waived her right to collaterally attack

 her   sentence      by    a    §   2255    petition.      There   is     no    evidence

 establishing that she did not understand the waiver provision in

 her plea agreement. To the contrary, she affirmed her understanding

 that, under the terms of her agreement, if the Court sentenced her

 using a Base Offense Level of 26 she was precluded from filing this

 petition.

       Dodson also alleges that she received ineffective assistance

 because Carr failed to advise her appropriately of all of her

 rights and about her case and the strategy for pleading guilty, all

 factors that contributed to her entering a guilty plea. The record,

 however,     does   not       support     an   argument    that    Carr       failed    to

 adequately represent Dodson.

       THE COURT: All right. The same questions to you, Ms.
       Dodson, did anybody threaten or force you into the plea
       you've tendered here today?

       DEFENDANT JODI DODSON: No.


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       THE COURT: Is this plea the result of any promises other
       than the terms of the plea agreement between you and the
       Government?

       DEFENDANT JODI DODSON: No.

 Transcript of Plea Hearing at 56.

       Before accepting Dodson’s guilty plea, the Court discussed the

 following with Dodson:

       THE COURT: Thank you . . . first, Ms. Dodson, did your
       attorney, Mr. Carr, adequately represent you in this
       matter?

       DEFENDANT JODI DODSON: Yes.

       THE COURT: Did he leave anything undone that you thought
       he should have undertaken to defend you in the case?

       DEFENDANT JODI DODSON: No.

       THE COURT: Did he share the discovery with you?

       DEFENDANT JODI DODSON: Yes.

       THE COURT: And did he discuss the pros and cons of going
       to trial versus a plea in this case?

       DEFENDANT JODI DODSON: Yes.

       THE COURT: And, Mr. Carr, were you able to find any
       defense to the charge in the case?

       MR. CARR: Your Honor, we had discussed between Mr. Dillon
       and myself what the clients' defense would be and I want
       the record to be clear that having gone through the ins
       and outs of that possible defense we determined that it
       would not have been sufficient to adequately defend the
       clients and we recommended that they accept the plea
       agreement.

 Id. at 58.

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       Even if her claims were not barred, given the totality of the

 circumstances Dodson has provided no evidence contradicting the

 presumption that Carr’s performance was within the range of an

 objective    standard       of     reasonableness        under    Strickland     v.

 Washington, 466 U.S. 668 (1984). She merely states that Carr failed

 to   investigate      her   innocence.        No   facts    indicate     that   the

 disposition of her case is the result of any actions or inactions

 on Carr’s part. Dodson’s bald assertions alone do not provide a

 sound basis on which to grant an evidentiary hearing.

       Moreover,    because        Dodson’s     claims      that   Carr   did    not

 sufficiently advise her regarding the strategy of pleading guilty

 relate to matters that occurred prior to her plea hearing, Dodson’s

 valid waiver bars her claim of ineffective assistance of counsel

 prior to the plea hearing. Attar, 38 F.3d at 732.

B. Dodson Did Not File Any Proper Objections to Her Post-Plea
            Ineffective Assistance of Counsel Claims.

       In the objections to the R&R that were properly filed,

 Dodson’s    counsel    does      not   address     any   claims   of   ineffective

 assistance of counsel arising after the plea hearing, whether at

 the sentencing hearing or with regard to any appeal. She only

 claims that Dodson would not have entered a guilty plea at all had

 she received effective assistance. Thus, the Court adopts the


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 conclusions in the R&R as to those claims. Even if the Court were

 required to consider Dodson’s pro se objections filed on July 18,

 2011, however, those claims are without merit.

 C.     Dodson’s Additional Claims are Moot.

       In the R&R, the magistrate judge found that the following

 claims were moot:

       1) Petitioner’s pro se Motion to Quash Search Warrant and

 Suppress Fruits of Search Seeking to Engage in Civil Discovery to

 Aid Attack on the Search Warrant:         Dismissal of Indictment (dkt.

 7);

       2) Petitioner’s pro se Motion for Release Pending Appeal (dkt.

 8);

       3) Dodson’s request for an evidentiary hearing to challenge

 the prosecution’s decision to oppose the grant of a downward

 departure and safety valve reduction;

       4) her    contingent    request,    upon   the    granting    of   the

 evidentiary hearing, for “the reassignment of [the] sentencing

 judge” for potential bias;

       5) her request that her plea be vacated and her “sentence be

 remanded;”

       6) upon the “remand” of her sentence, her request to challenge

 the basis for sentencing;


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        7) her request that the evidence be reviewed, to determine

 what   action   to   take   regarding     “malicious   investigation”    and

 “malicious prosecution;” and

        8) her request that the indictment be dismissed.

 In her properly filed objections to the R&R, Dodson’s counsel did

 not specifically object to these recommendations, and the Court can

 find no fault with Magistrate Judge Joel’s conclusions.

                             VI. CONCLUSION

        After de novo consideration of the matters to which Dodson has

 raised a proper objection, the Court concludes that her grounds for

 habeas relief are barred in large part by her waiver, and without

 merit in any event. Accordingly, the Court DENIES Dodson's § 2255

 motion (dkt. 1) and ADOPTS the Magistrate Judge's R&R (dkt. no. 21)

 in its entirety. The Court DENIES AS MOOT Dodson's motion to quash

 search warrant (dkt. 7) and motion for release (dkt. 8). Because

 the Court denies Dodson's § 2255 motion, it also DENIES AS MOOT

 Dodson's motion to deny the government's time extension, permission

 to furlough, and consideration of alternate sentence (dkt. 24). The

 Court DISMISSES this petition WITH PREJUDICE. Finding no colorable

 issue of a constitutional dimension, the Court DENIES a certificate

 of appealability.

        It is so ORDERED.

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       The Clerk is directed to transmit copies of this Order to

 counsel of record, the petitioner via certified mail, and all

 appropriate agencies.

 DATED: August 26, 2011.

                                    /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




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